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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :      CASE NO. 21-CR-690 (RCL)
              v.                           :
                                           :
PHILIP SEAN GRILLO,                        :
                                           :
                     Defendant.            :

               NOTICE REGARDING COUNT 1 OF THE INDICTMENT

       The government provides notice that, in light of Fischer v. United States, 603 U.S.__,
2024 (June 28, 2024), the government will not oppose the defendant’s Motion for Judgment of
Acquittal on Count 1 of the Indictment in violation of 18 U.S.C. § 1512(C)(2). ECF 130. The
government is prepared to proceed with sentencing on the remaining counts of the indictment on
October 4, 2024.

                                           Respectfully submitted,
                                           MATTHEW M. GRAVES
                                           United States Attorney
                                           DC Bar No. 481052


                                    By:    /s/ Eli J. Ross
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